






Opinion issued July 12, 2007		 

	






In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00978-CR

____________


PAUL VINCENT TROXCLAIR, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 179th District Court 

Harris County, Texas

Trial Court Cause No. 1034016






MEMORANDUM  OPINION

	Appellant, Paul Vincent Troxclair, pleaded guilty to the felony offense of
possession of child pornography without an agreed recommendation with the State. 
After a pre-sentence investigation hearing, the trial court assessed punishment at
confinement for 10 years and assessed a fine of $10,000.  We affirm.

	Appellant's court-appointed counsel filed a motion to withdraw as counsel and
a brief concluding that this appeal is without merit.  Counsel's brief meets the
requirements of Anders v. California, 386 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967),
by presenting a professional evaluation of the record that demonstrates the lack of
arguable grounds of error.  See High v. State, 573 S.W.2d 807, 811 (Tex. Crim. App.
1978); Moore v. State, 845 S.W.2d 352, 353 (Tex. App.--Houston [1st Dist.] 1992,
pet. ref'd).

	Counsel represents that he served a copy of the brief on appellant.  Counsel
also advised appellant of his right to examine the appellate record and file a pro se
brief.  See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than
30 days have passed, and appellant has not filed a pro se brief.  We have carefully
reviewed the record and counsel's brief.  We find no reversible error in the record,
and agree that the appeal is without merit.

	We therefore affirm the judgment of the trial court.

	We grant counsel's motion to withdraw. (1)  See Stephens v. State, 35 S.W.3d
770, 771 (Tex. App.--Houston [1st Dist.] 2000, no pet.). 

PER CURIAM


Panel consists of Justices Nuchia, Hanks, and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).
1.    	Counsel has a duty to inform appellant of the result of his appeal and also to inform
him that he may, on his own, pursue discretionary review in the Texas Court of
Criminal Appeals.  See Ex parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997).


